 Case 1:01-cv-12257-PBS Document 7155-1 Filed 06/29/10 Page 1 of 13




                               Exhibit A
United States of America ex rel. Ven-a-Care of the Florida Keys, Inc. v. Dey, Inc., et al.,
                           Civil Action No. 05-11084-PBS

        Exhibit to Plaintiff’s Memorandum In Support of United States’ Motion
             In Limine Regarding Testimony of Raymond C. Winter and
                          Sequencing of Deposition Testimony
Case 1:01-cv-12257-PBS Document 7155-1 Filed 06/29/10 Page 2 of 13
Case 1:01-cv-12257-PBS Document 7155-1 Filed 06/29/10 Page 3 of 13
Case 1:01-cv-12257-PBS Document 7155-1 Filed 06/29/10 Page 4 of 13
Case 1:01-cv-12257-PBS Document 7155-1 Filed 06/29/10 Page 5 of 13
Case 1:01-cv-12257-PBS Document 7155-1 Filed 06/29/10 Page 6 of 13
Case 1:01-cv-12257-PBS Document 7155-1 Filed 06/29/10 Page 7 of 13
Case 1:01-cv-12257-PBS Document 7155-1 Filed 06/29/10 Page 8 of 13
Case 1:01-cv-12257-PBS Document 7155-1 Filed 06/29/10 Page 9 of 13
Case 1:01-cv-12257-PBS Document 7155-1 Filed 06/29/10 Page 10 of 13
Case 1:01-cv-12257-PBS Document 7155-1 Filed 06/29/10 Page 11 of 13
Case 1:01-cv-12257-PBS Document 7155-1 Filed 06/29/10 Page 12 of 13
Case 1:01-cv-12257-PBS Document 7155-1 Filed 06/29/10 Page 13 of 13
